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AO 450 (SCD 04/2010) Judgment in a Civil Action


                             UNITED STATES DISTRICT COURT
                                                               for the
                                                   District of South Carolina


                        Beverly K.                                    )
                           Plaintiff
                                                                      )
                      v.                                                       Civil Action No. 4:20-cv-3780-RBH
                                                                      )
       Commissioner of the Social Security
                                                                      )
               Administration
                          Defendant                                   )

                                JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                      recover from the defendant (name)                          the amount of

dollars ($    ), which includes prejudgment interest at the rate of       %, plus postjudgment interest at the rate of   %, along

with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)

recover costs from the plaintiff (name)                                    .

O other: The Commissioner’s decision is hereby affirmed.


This action was (check one):

’ tried by a jury, the Honorable                               presiding, and the jury has rendered a verdict.


’ tried by the Honorable                           presiding, without a jury and the above decision was reached.

O decided by the Honorable R. Bryan Harwell, Chief United States District Judge, who adopted the Report
and Recommendation of the Honorable Thomas E. Rogers, III, United States Magistrate Judge.

                                                                            ROBIN L. BLUME
Date:         October 7 , 2021                                             CLERK OF COURT


                                                                           s/ Glenda J. Nance
                                                                                  Signature of Clerk or Deputy Clerk
